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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

JOHN McCRAY, Sr.,

      Defendant.                                      Case No. 05-cr-30027-DRH



                           MEMORANDUM & ORDER


HERNDON, District Judge:


            Before the Court is defendant John McCray, Sr.’s Motion for Pretrial

Determination of the Admissibility of Coconspirator Statements (Doc. 162), to which

the Government files its opposing Response (Doc. 181). In his Motion, McCray seeks

an order requiring the Government provide a pretrial proffer, either by written

submission or pretrial evidentiary hearing, regarding evidence it intends to use at

trial as “statements of coconspirators in furtherance of the conspiracy” (Doc. 162,

p. 1). Such statements generally fall under the hearsay exception found in Rule

801(d)(2)(E) of the Federal Rules of Evidence. Further, Federal Rule of Evidence

104(a) requires the Court determine a preliminary question the admissibility of such

coconspirator statements (Id. at 2, citing United States v. Santiago, 582 F.2d


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1128, 1131 (7th Cir. 1978)). Thus, McCray ultimately seeks this determination of

admissibility.

             As outlined in the Government’s Response, in order for co-conspirator

statements to be admissible, the Government has the burden of proving by a

preponderance of the evidence that “a conspiracy existed, that both the defendant

and the declarant were members of the conspiracy, and that the declarant made the

statement in furtherance of the conspiracy.” United States v. Andrus, 775 F.2d

825, 836 (7th Cir. 1985)(citing Santigo, 582 F.2d at 1134). In lieu of requiring

a preliminary written proffer or conducting a pretrial evidentiary hearing, the Court

also has the option of “rul[ing] on each statement as it is elicited based on the

evidence the Government has adduced to that point; the [C]ourt can, even in the

absence of a pretrial proffer, conditionally admit the body of coconspirator’s

statements subject to the Government’s eventual proof of the foundational

elements (the penalty for not so providing being a possible mistrial).” United

States v. McClellan, 165 F.3d 535, 553-54 (7th Cir. 1999)(citing Andrus, 775

F.2d at 836-37)(emphasis in original).

             In part because the Court has been informed that McCray has already

been provided with notice of coconspirator statement evidence in the “form of

transcripts of all such statements and audio recordings” by the Government and

because the Court deems a pretrial determination of admissibility to be premature,

McCray’s Motion (Doc. 160) is DENIED, as the Court elects to determine



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admissibility of such statements during trial.

            IT IS SO ORDERED.

            Signed this 25th day of October, 2006.

                                                     /s/      David RHerndon
                                                     United States District Judge




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